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3                              UNITED STATES DISTRICT COURT
4                                       DISTRICT OF NEVADA
5                                               ***
6     DELJUAN MARKE GOODLOW,                          Case No. 3:20-cv-00364-MMD-CLB
7                                 Petitioner,                        ORDER
             v.
8
      ISIDRO BACA, et al.,
9
                              Respondents.
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11         In this habeas corpus action, Petitioner Deljuan Marke Goodlow, represented by
12   appointed counsel, filed a second amended habeas petition on February 5, 2021 (ECF
13   No. 17), and Respondents filed an answer on June 28, 2021 (ECF No. 24). Then, after
14   an initial period of 45 days and a 60-day extension of time, Goodlow was due to file a
15   reply by October 11, 2021. (ECF No. 10 (giving 45 days to reply); ECF No. 34 (60-day
16   extension).)
17         On October 8, 2021, Goodlow filed a motion for extension of time (ECF No. 35),
18   requesting a further 60-day extension of time, to December 10, 2021, to file his reply.
19   Goodlow’s counsel states that the further extension of time is necessary because of his
20   obligations in other cases, and to allow further investigation in this case. Respondents do
21   not oppose the motion for extension of time. The Court finds that the motion for extension
22   of time is made in good faith and not solely for the purpose of delay, and there is good
23   cause for the extension of time.
24   ///
25   ///
26   ///
27   ///
28   ///
     Case 3:20-cv-00364-MMD-CLB Document 36 Filed 10/13/21 Page 2 of 2



1          It is therefore ordered that Goodlow’s Motion for Extension of Time (ECF No. 35)

2    is granted. Goodlow will have until and including December 10, 2021, to file a reply to

3    Respondents’ answer. In all other respects, the schedule for further proceedings set forth

4    in the order entered August 5, 2020 (ECF No. 10) will remain in effect.

5          DATED THIS 13th Day of October 2021.

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8                                             MIRANDA M. DU
                                              CHIEF UNITED STATES DISTRICT JUDGE
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